Case 2:18-cv-00861-SJO-RAO Document 1 Filed 10/31/17 Page 1 of 6 Page ID #:1




                        THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


DISPLAY TECHNOLOGIES, LLC,


                       Plaintiff,
                                                          Civil Action No. _:17-cv-
                v.
                                                        JURY TRIAL DEMANDED
YAMAHA CORPORATION OF
AMERICA,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Display Technologies, LLC (“Plaintiff”) files this Complaint against Yamaha

Corporation of America (“Defendant”) alleging as follows:


                                           PARTIES

         1.     Plaintiff Display Technologies, LLC is limited liability company organized under

the state of Texas having a principal place of business at 1400 Preston Road, Ste. 400, Plano, TX

75093.

         2.     Upon information and belief Defendant is a corporation organized and existing

under the laws of the State of Delaware, having its principal place of business at 6600

Orangethrope Ave, Buena Park, CA 90620. Defendant may be served via its registered agent:

Corporation Service Company, 2710 Gateway Oaks Dr., Ste. 150N, Sacramento, CA 95833.
Case 2:18-cv-00861-SJO-RAO Document 1 Filed 10/31/17 Page 2 of 6 Page ID #:2




                                  JURISDICTION AND VENUE

        3.       This is an action for infringement of a United States patent arising under 35

U.S.C. §§ 271(a), 281, and 284 - 85. This Court has subject matter jurisdiction over this action

under 28 U.S.C. §1331 and §1338(a).

        4.       Venue is proper in this district under 28 U.S.C. § 1400(b). Upon information and

belief, Defendant has transacted business in this district, and has a regular place of business in

Dallas, Texas.

        5.       Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the York Long Arm Statute, due at least to its substantial business

in this forum, including: (i) at least a portion of the infringements alleged herein; and (ii)

regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Texas and in this

judicial district.


                                             COUNT I

                      (INFRINGEMENT OF U.S. PATENT NO. 9,300,723)

        6.       On March 29, 2016, United States Patent No. 9,300,723 (the “’723 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention titled

“Enabling Social Interactive Wireless Communications.” A true and correct copy of the ’723

Patent is attached hereto as Exhibit A.

        7.       Mr. Leigh M. Rothschild is listed as the inventor of the ’723 Patent.

        8.       Plaintiff is the owner by assignment of the ’723 Patent with all rights in and to

that patent.
Case 2:18-cv-00861-SJO-RAO Document 1 Filed 10/31/17 Page 3 of 6 Page ID #:3




       9.      Defendant directly or through intermediaries, makes, uses, imports, sells, and/or

offers for sale products and/or systems (i.e., TSX-B235BL, TSX-B235WH, TSX-B141BL, TSX-

B141CF, and TSX-B141BR (collectively, the “Accused Instrumentalities”)) that infringe claims

12, 14, 16, 17, and 20 of the ’723 Patent.

       10.     Upon information and belief, Defendant has been and is now infringing claims 12,

14, 16, 17, and 20 of the ’723 Patent in the State of Texas, in this Judicial District, and elsewhere

in the United States, by, among other things, directly or through intermediaries, making, using,

importing, selling and/or offering for sale media systems with NFC and Bluetooth, i.e., the

Accused Instrumentalities which all operate in substantially the same manner covered by one or

more claims of the ’723 Patent to the injury of Plaintiff. Defendant is thus infringing, literally

infringing, and/or infringing the ’723 Patent under the doctrine of equivalents. Defendant is thus

liable for infringement of the ’723 Patent pursuant to 35 U.S.C. §. 271(a).

       11.     Upon information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, predecessors in interest to the ’723 Patent complied with such requirements.

       12.     The Accused Instrumentalities infringe claim 12 of the ’723 Patent, and includes a

wireless receiver (i.e., a Bluetooth network adapter); a security measure (i.e., security measures

such as a Bluetooth PIN); and the media system disposed in an accessible relation to at least one

interactive computer network that has a wireless range structured to permit authorized access to

said at least one interactive computer network (i.e., a NFC chip which allows access to the

Bluetooth network), the wireless mobile device within said wireless range, wherein said wireless

mobile device is detectable by said media system (i.e., the Accused Instrumentality automatically

detects a smartphone with NFC when placed within NFC range of the Accused Instrumentality),

at least one digital media file initially disposed on the wireless mobile device (i.e., the
Case 2:18-cv-00861-SJO-RAO Document 1 Filed 10/31/17 Page 4 of 6 Page ID #:4




smartphone includes one or more digital media files such as music files), said media system

being structured to detect said wireless mobile device disposed within said wireless range (i.e.,

the Accused Instrumentality automatically detects the smartphone when placed within NFC

range), a communication link structured to dispose said media system and said wireless mobile

device in a communicative relation with one another via said at least one interactive computer

network (i.e., the Accused Instrumentality includes a Bluetooth network adapter which places the

NFC capable smartphone and the Accused Instrumentality in communication with one another),

said communication link being initiated by said media system (i.e., it initiates the Bluetooth

connection with the NFC capable smartphone), said wireless mobile device and media system

being structured to transmit said at least one digital media file therebetween via said

communication link (i.e., the Accused Instrumentality includes a Bluetooth adapter which allows

for the transmission of files between itself and the wireless mobile device), and said

communication link is structured to bypass the security measure of the media system for a

limited permissible use of the communication link by the wireless mobile device for only

transferring the at least one digital media file to, and displaying the at least one digital media file

on, the media system (i.e., the Accused Instrumentality bypasses the security measure of the

Bluetooth network adapters using the NFC adapter, for the limited purpose of playing one or

more digital media files). See Ex. B, Figs. 1 and 2.

       13.     The Accused Instrumentalities infringe claim 14 of the ’723 Patent, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure (i.e., the Wi-Fi security settings such as

encryption or password requirements are completely bypassed for the purpose of transmitting the

digital media file such as a photo). See Ex. B, Figs. 1 and 2.
Case 2:18-cv-00861-SJO-RAO Document 1 Filed 10/31/17 Page 5 of 6 Page ID #:5




       14.     The Accused Instrumentalities infringe claim 16 of the ’723 Patent, as it is an

audio system. See Ex. B. Figs, 1-3.

       15.     The Accused Instrumentalities infringe claim 17 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-

Fi connection (i.e., a Bluetooth connection). See Ex. B, Figs. 1 and 2.

       16.     The Accused Instrumentalities infringe claim 20 of the ’723 Patent, wherein the at

least one media file is provided by the wireless mobile device (i.e., the digital media file is

provided by the NFC smartphone). See Ex. B, Figs. 1 and 2.

       17.     As a result of the Defendant’s infringement of the ’723 Patent, Plaintiff has

suffered monetary damages in an amount not yet determined, and will continue to suffer

damages in the future unless Defendant’s infringing activities are enjoined by this Court.

       18.     Unless a permanent injunction is issued enjoining Defendant and its agents,

servants, employees, attorneys, representatives, affiliates, and all others acting on their behalf

from infringing the ’723 Patent, Plaintiff will be irreparably harmed.


                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter:

       1.      A judgment in favor of Plaintiff that Defendant has infringed the ’723 Patent;

       2.      A permanent injunction enjoining Defendant and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

active concert therewith from infringement, inducing the infringement of, or contributing to the

infringement of the ’723 Patent, or such other equitable relief the Court determines is warranted;

       3.      A judgment and order requiring Defendant pay to Plaintiff its damages, costs,

expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ’723
Case 2:18-cv-00861-SJO-RAO Document 1 Filed 10/31/17 Page 6 of 6 Page ID #:6




Patent as provided under 35 U.S.C. § 284, and an accounting of ongoing post-judgment

infringement; and

        4.     Any and all other relief, at law or equity, to which Plaintiff may show itself to be

entitled.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

        DATED October 31, 2017.                       Respectfully submitted,


                                                      /s/ Thomas C. Wright
                                                      Thomas C. Wright, Ph.D.
                                                      State Bar No. 24028146
                                                      Alex J. Whitman
                                                      State Bar No. 24081210
                                                      Cunningham Swaim, LLP
                                                      7557 Rambler Road, Suite 400
                                                      Dallas, TX 75231
                                                      Telephone: (214) 646-1495
                                                      twright@cunninghamswaim.com
                                                      awhitman@cunninghamswaim.com

                                                      ATTORNEYS FOR PLAINTIFF
                                                      DIGITAL TECHNOLOGIES, LLC
